Case 23-13359-VFP            Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21                            Desc Main
                                     Document    Page 1 of 10



     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY
     Caption in Compliance with D.N.J. LBR 9004-1(b)

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     Counsel to U.S. 41 & I-285 Company LLC

     In re:                                                              Chapter 11

     BED BATH & BEYOND INC., et al.,                                     Case No. 23-13359 (VFP)

                                     Debtors.1                           (Jointly Administered)

               OBJECTION OF U.S. 41 & I-285 COMPANY LLC TO THE DEBTORS’
                 NOTICE OF ASSUMPTION OF CERTAIN UNEXPIRED LEASES

              U.S. 41 & I-285 Company LLC (the “Landlord”) files this objection (the “Objection”),

 by and through its undersigned counsel, to the Debtors’ Notice of Assumption of Certain Unexpired




 1
   The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the
 Debtors in these chapter 11 cases and each such Debtor’s tax identification number may be obtained on the website
 of the Debtors’ proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor
 Bed Bath & Beyond Inc.’s principal place of business and the Debtors’ service address in these chapter 11 cases is
 650 Liberty Avenue, Union, New Jersey 07083.
Case 23-13359-VFP            Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21                       Desc Main
                                     Document    Page 2 of 10



 Leases (the “Assumption Notice”) [Docket No. 1157],2 and respectfully represents as follows:

                                                 THE LEASE

           1.       Landlord, as successor-in-interest to U.S. 41 & I-285 Company, and Bed Bath &

 Beyond Inc. (the “Tenant”) are parties to that certain Lease Agreement dated as of October 3,

 2005 with respect to premises consisting of 29,000 square feet of Floor Area and located at Akers

 Mill Square in Atlanta, Georgia (the “Premises”). The Lease Agreement was amended or

 supplemented by a Rent Commencement and Expiration Date Agreement dated as of March 14,

 2006, and Amendment to Lease Agreement dated as of May 10, 2007, a Second Amendment to

 Lease Agreement dated as of March 15, 2011, a Third Amendment to Lease Agreement dated as

 of January 30, 2019, a Fourth Amendment to Lease dated as of August 23, 2021, a letter dated

 April 25, 2016 and letter agreements dated July 18, 2005 and July 29, 2005. The Lease Agreement,

 as modified or amended (including those modifications and amendments listed above) is

 hereinafter referred to as the “Lease”. A copy of the Lease Agreement, the First Amendment, the

 Second Amendment, the Third Amendment and the Fourth Amendment are attached respectively

 as Exhibits A, B, C, D and E.

                                            BACKGROUND FACTS

           2.       On April 23, 2023 (“Petition Date”), the Debtors filed their petition for relief under

 chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”).

           3.       The Premises is located in a “shopping center” as that term is used in section

 365(b)(3) of the Bankruptcy Code. See, e.g., In re Joshua Slocum Ltd., 922 F.2d 1081, 1086-87

 (3rd Cir. 1990).

           4.       On May 22, 2023, the Court entered the Order (I) Establishing Procedures to Sell


 2
     Terms not defined herein shall have the meanings ascribed to them in the Assumption Notice and accompanying
     documents.


                                                        2
Case 23-13359-VFP       Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21                 Desc Main
                                Document    Page 3 of 10



 Certain Leases, (II) Approving the Sale of Certain Leases, and (III) Granting Related Relief

 [Docket No. 422] which, among other things, approved the expedited procedures for the

 assumption and assignment of unexpired leases.

         5.     On June 23, 2023, the Debtors filed the Notice of Phase 1 Lease Auction, Qualified

 Bids, Lease Sale Hearing, and Related Lease Asset Information [Docket No. 905] (the “Phase 1

 Auction Notice”), which (i) notified interested parties that the Debtors had received one or more

 Qualified Bids on certain Lease Assets, as set forth on Schedule 1 attached thereto, (ii) confirmed

 the time and place of the Phase 1 Lease Auction and set forth the Permitted Auction Attendees (as

 defined herein), and (iii) notified interested parties that the Debtors, in consultation with the

 Consultation Parties, would file a supplemental notice to the Phase 1 Auction Notice confirming

 whether certain Lease Assets associated with the Debtors’ “buybuy BABY” banner would be

 included in the Phase 1 Auction.

         6.     On June 27, 2023, the Debtors filed the Notice of Successful and Backup Bidder

 with Respect to the Phase 1 Auction of Certain of the Debtors’ Lease Assets and Assumption and

 Assignment of Certain Unexpired Leases [Doc. No. 1114], in which they advised that the Phase I

 Lease Auction resulted in the proposed sale of the Lease to “Burlington”. See Doc. No. 1114, p.

 9, no. 53.

         7.     The Assumption Notice was filed on June 30, 2023, and identified the Assignee of

 the Lease as Burlington Coat Factory Warehouse Corporation (“Burlington”). Pursuant to the

 Assumption Notice, July 11, 2023 at 5:00 pm was the Objection Deadline.

         8.     Pursuant to the Assumption Notice, the Debtors listed the “Proposed Cure

 Amounts” for the Landlord’s lease as $6,796 (“Proposed Cure Amount”).




                                                  3
Case 23-13359-VFP        Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21                 Desc Main
                                 Document    Page 4 of 10



                                          OBJECTIONS

 A.     Assignment of the Lease to Burlington Will Disrupt the Tenant Mix

        9.      The Assumption Notice fails to provide the Landlord with adequate assurance of

 future performance because it fails to (i) acknowledge that the assignment of the Lease to

 Burlington will disrupt the tenant mix at Akers Mill Square, and (ii) indicate that Burlington will

 be bound by Existing Exclusives.

        10.     11 U.S.C. § 365(b)(3)(D) provides that for a shopping center, adequate assurance

 of future performance includes “that assumption or assignment of such lease will not disrupt any

 tenant mix or balance in such shopping center.”

        11.     As indicated in the Lease, and as generally acknowledged in the Atlanta

 Metropolitan Market by customers and tenants, Akers Mill Square is an upscale, first-class

 shopping center and Landlord is bound to maintain it as such. See Lease Sections 8.1.7 and 13.1.2,

 and as per other lease agreements the Landlord has with tenants at Akers Mill Square.

        12.     Section 13.2.2 of the Lease specifically prohibits discount department stores such

 as Burlington. Burlington may also violate the Prohibited Uses identified in Exhibit M to the

 Lease (“Prohibited Uses”) at Section (41) prohibiting stores which sell “clearance” and “over

 stock” merchandise.

        13.     The Landlord’s breach of such provisions subjects the Landlord to penalties from

 other tenants, including significantly reduced rent and has the potential of reducing the quality of

 the tenant mix in the shopping center overall.

        14.     The assignment or sale of the Lease to Burlington, which could be considered a

 surplus store or discount retailer, would violate the terms of the Lease, and therefore, it would be

 in violation of 11 U.S.C. § 365(b)(3)(C) and (D). Additionally, there is no assurance that




                                                   4
Case 23-13359-VFP        Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21              Desc Main
                                 Document    Page 5 of 10



 Burlington will not otherwise violate the Existing Exclusives.

 B.     Insufficient Cure Amount

        15.      Prior to any assumption or assignment of unexpired leases in these bankruptcy

 cases, the Debtors are required by section 365(b)(1) of the Bankruptcy Code to provide adequate

 assurance (a) that the Debtors will promptly cure all defaults under the unexpired leases to be

 assumed and assigned and (b) of the future performance of a proposed assignee under the terms of

 any unexpired leases sought to be assumed and assigned.

        16.      As of June 20, 2023, the Debtors’ Proposed Cure Amount, including attorney fees,

 is understated as follows:

 Property Name       Debtor              Debtor       Lease Cure     Attorneys’    Total Cure
                                         Proposed     Amount         Fees          Amount
                                         Cure Amounts
 Akers Mill          Bed Bath & Beyond   $6,796.00    $6,796.00      $2,500.00      $9,296.00
 Square              Inc.


 Thus, before the Debtors may assume and assign the Lease to Burlington, they must provide

 adequate assurance that they will pay the Total Cure Amount and that Burlington will be able to

 perform under the Lease and not in violation of it in the future.

        17.      In addition, the Debtors remain responsible for all accrued or accruing charges

 under the Lease and must pay such charges when they come due under the Lease, or confirm that

 such amounts will be timely paid by Burlington. The Debtors must assume and assign the Lease

 subject to its terms, and Burlington must assume all obligations owing under the Lease, including

 obligations that have accrued but may not yet have been billed under the Lease. Any final

 assumption and assignment or confirmation order should clearly state that Burlington will assume

 the obligations under the Lease and pay them when due, regardless of whether they relate to the

 period prior to, or after, the assumption and assignment. Furthermore, any provision in an




                                                  5
Case 23-13359-VFP        Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21                  Desc Main
                                 Document    Page 6 of 10



 assumption and assignment or confirmation order that purports to release the Debtors of further

 liability based upon a payment of cure amounts, must specify that such release does not apply to

 obligations to pay accrued or accruing, but unbilled, charges that come due under the Lease, and

 that such obligations shall become the obligations of Burlington.

        18.     Some charges for which the Debtors bear responsibility under the Lease have not

 yet been reconciled and/or adjusted from pre-petition (or even post-petition) periods. Subject to

 the terms of the Lease, the Debtors pay fixed minimum rent, along with (where applicable) a pro-

 rata share of expenses such as real property taxes, insurance, utilities, tenant operating

 contributions (“CTOC”), fees, annual percentage rent, and the like. Certain charges, such as

 CTOC and property taxes are estimated prospectively, billed to and paid by the tenant during the

 year, and then reconciled after year-end. The reconciliation compares the amounts estimated and

 paid against actual charges incurred. To the extent the estimated payments exceed actual charges;

 the result is a credit to the tenant. To the extent the estimated payments do not cover actual charges

 incurred under the Leases, the result is an additional amount (or debit) for which the tenant is

 liable. In some instances, year-end reconciliations and adjustments for previous years may not yet

 be complete. In other instances, certain charges may be paid in arrears, and cannot be calculated

 (in some cases) until a year or more after year-end. Because these accrued, but unbilled, charges

 are not yet due under the Lease, they do not create a current default that gives rise to a requirement

 to cure by the Debtors at this time, but upon assumption and assignment all of those obligations

 shall become obligations of Burlington.

        19.     Finally, the Lease requires the Debtors to indemnify and hold the Landlord

 harmless with respect to any claims resulting from injury or damages to persons or property

 occurring in or about the Premises. Any assumption and assignment of the Lease must be subject




                                                   6
Case 23-13359-VFP           Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21                          Desc Main
                                    Document    Page 7 of 10



 to the terms of the Lease, including the continuation of all indemnification obligations, regardless

 of when any claim arose.3 Nothing in any assumption and assignment or confirmation order should

 preclude the Landlord from pursuing Burlington, its insurance, or any other party that may be

 liable under the Lease, and the Landlord specifically reserves its rights to pursue such rights

 irrespective of any amounts claimed herein.

         20.      Section 365(b)(1)(A) requires that the Debtors promptly cure outstanding balances

 due under the Lease upon assumption. To the extent there is a dispute over the total cure obligation

 for the Lease, all undisputed cure amounts should be paid promptly upon the assumption or

 assumption and assignment of the Lease. The Debtors should escrow disputed amounts, and the

 Court should set a status conference within thirty (30) days of the assumption of the Lease to deal

 with any disputes that remain unresolved after such period.

         21.      The Landlord reserves the right to amend and/or supplement this Objection on any

 basis, including, without limitation, by adding and supplementing objections to the Debtor’s

 proposed cure amounts and by adding or supplementing objections to the adequate assurance of

 future performance provided by the Debtors or any proposed assignee(s).




 3
   Any ability to assume the Lease is subject to the protections provided by Section 365(b) and (f). Therefore, any
 assumption must be in accordance with all provisions of the Lease.


                                                         7
Case 23-13359-VFP        Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21                  Desc Main
                                 Document    Page 8 of 10



        WHEREFORE, the Landlord respectfully requests that this Court enter an Order sustaining

 this Objection, denying the assumption of the Lease by the Debtors and the assignment of the

 Lease to Burlington, or otherwise granting relief consistent with this Objection, and granting the

 Landlord such other and further relief to which it may be entitled under applicable law or in equity.




  Dated: July 11, 2023                             PORZIO BROMBERG & NEWMAN, P.C.

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                                                  8
Case 23-13359-VFP       Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21                  Desc Main
                                Document    Page 9 of 10



                                  CERTIFICATE OF SERVICE

         I hereby certify that on July 11, 2023, I caused a true and correct copy of the foregoing

  document to be served by electronic means through the CM/ECF system to all registered

  participants in this case and by e-mail on the parties identified on the Service List.

                                                       /s/ John S. Mairo
                                                         John S. Mairo




                                                  9
Case 23-13359-VFP     Doc 1310 Filed 07/11/23 Entered 07/11/23 16:46:21             Desc Main
                             Document     Page 10 of 10



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                                           10
